     Case 09-69160-jrs    Doc 19-1 Filed 06/18/09 Entered 06/18/09 14:06:09         Desc Fin.
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                             UNITED STATES BANKRUPTCY COURT
                                  Northern District of Georgia
                                       Atlanta Division


In Re: Debtor(s)
                                                         Case No.: 09−69160−reb
      Brian Thomas Crooks
                                                         Chapter: 13

      Beth Haynes


                                   NOTICE TO DEBTOR
                         THAT COURSE ON FINANCIAL MANAGEMENT
                           IS REQUIRED TO RECEIVE DISCHARGE



      Upon review of the docket in the above−styled case, it appears that Debtor or Debtors
(hereinafter "Debtor") has not filed Form 23 (Debtor's Certification of Completion of Instructional
Course Concerning Personal Financial Management) showing that Debtor has completed the
personal financial management course or is exempt. Sections 727(a)(11), 1141(d)(3)(C), and
1328(g) of Title 11, U.S.Code, require an individual debtor in a Chapter 7, 11, or 13 case to
complete an instructional course on personal financial management after filing the case unless
Debtor obtains an order granting an applicable exemption provided by §109(h)(4). To comply
with the course requirement, a debtor must timely file Form 23 with the Clerk's office. See
Interim Bankruptcy Rule 1007(b) and (c) and Official Form 23 (10/06). Failure to timely file Form
23 may result in the case being closed without Debtor receiving a discharge.
      A Chapter 7 debtor must file Form 23 within 45 days after the first date set for the meeting
of creditors. Chapter 11 and 13 debtors must file Form 23 no later than the date the last payment
is made as required by the plan or the date a motion for entry of discharge is filed. If Debtor
subsequently files a motion to reopen the case in order to file Form 23, Debtor must pay the
appropriate fee to reopen the case. THIS NOTICE WILL BE THE ONLY REMINDER
ABOUT THE COURSE REQUIREMENT.
      This Notice will be served upon the Debtor, counsel for Debtor, and the Trustee.




Dated: June 18, 2009



** Mailing Address
 United States Bankruptcy Court
1340 Russell Federal Building
75 Spring Street, SW                                     W. Yvonne Evans
Atlanta, GA 30303                                        Clerk of Court
                                                         U.S. Bankruptcy Court

Form 417
